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 3

 4                       UNITED STATES DISTRICT COURT
 5
                                 DISTRICT OF NEVADA
 6
     UNITED STATES OF AMERICA,
 7
          Plaintiff,                    Case No. 3:19-CR-00026-LRH-WGC
 8   v.
                                        STIPULATION AND ORDER TO
 9   IVY ELLIOTT,                       CONTINUE SENTENCING HEARING

10              Defendant.              (Fifth Request)
     __________________________/
11
          IT IS HEREBY STIPULATED AND AGREED by and through Christopher
12
     Chiou, Acting United States Attorney for the District of Nevada, and
13
     Peter Levitt, Assistant United States Attorney, counsel for the
14
     United States of America, and Janice A. Hubbard, Esq., counsel for
15
     defendant, Ivy Elliott, that the sentencing hearing currently
16
     scheduled for to November 18, 2021, be vacated and continued to
17
     December 9, 2021 at 11:00 a.m.
18
          1. The additional time requested by this Stipulation to Continue
19
     Sentencing Hearing is reasonable pursuant to Fed.R.Crim.P. Rule
20
     32(b)(2), which states that the “court may, for good cause, change
21
     any time limits prescribed in this rule.”
22
          2.   A conflict has arisen in defense counsel’s calendar which
23
     will make her unavailable.     In addition, Ms. Elliott may be a
24
     witness in the pending trial, which should precede her sentencing.
25
          3.   Further, the additional time is requested to allow the
26
     parties to prepare for the sentencing hearing.
                                         1
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 1        4. Defendant is out of custody and agrees with the continuance.

 2   Ms. Elliott will stay in intensive outpatient care, she is under a

 3   doctor’s care for her depression and her medication is being
 4   monitored, she has obtained employment and she is enrolled at UNR
 5   working on her social worker’s degree.
 6        5. All parties agree to the continuance.
 7        6. This Stipulation is made in good faith and with good cause,
 8
     and not for the purposes of delay.
 9
                      DATED this 25th day of October, 2021.
10
     CHRISTOPHER CHIOU
11
     Acting United States Attorney
12

13
     /s/ Peter Levitt                              /s/ Janice A. Hubbard
     PETER LEVITT                                  JANICE A. HUBBARD, ESQ.
14   Assistant United States Attorney              Counsel for Ivy Elliott

15

16                                      ORDER

17        IT IS HEREBY ORDERED THAT, based upon the foregoing Stipulation

18   by the parties, and GOOD CAUSE APPEARING, the sentencing hearing

19   currently scheduled for November 18, 2021 be vacated and continued to

20   December 9, 2021 at 11:00 a.m.

21

22   DATED October 25, 2021.

23

24
                            _______________________________
25                          LARRY R. HICKS
                            UNITED STATES DISTRICT JUDGE
26


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